                                UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION


 IAN HUNTER LUCAS, Pro Se
       Plaintiff(s),
                                                        Case No. 3:24-cv-00440
 v.
                                                        Judge Waverly D. Crenshaw, Jr.
 MARY ANN JESSEE et al.                                 Magistrate Judge Alistair E. Newbern
      Defendant(s).



                      MOTION FOR TEMPORARY RESTRAINING ORDER

        Plaintiff, Ian Hunter Lucas ("Plaintiff"), proceeding pro se. Plaintiff respectfully requests that the

United States District Court for the Middle District of Tennessee issue an order for a Temporary

Restraining Order ("TRO") against Defendants, Mary Ann Jessee et al. ("Defendants"), pursuant to

Federal Rule of Civil Procedure 65, to be enforced within the jurisdiction of this Court. This motion is

made on the grounds that Defendants' actions have caused and continue to cause Plaintiff immediate and

irreparable harm, including but not limited to, denial of access to student records protected under the

Family Educational Rights and Privacy Act (FERPA), emotional, economic, professional, and

longstanding harm.

        Plaintiff requests that the TRO, under 28 U.S.C. § 1651, restrains Defendants from further

denying the Plaintiff access to his student records and from taking any retaliatory or discriminatory

actions against the Plaintiff. The Plaintiff further request from this honorable Court to set an emergency

hearing for this matter due to the urgency and ongoing nature of the harm. Plaintiff has presented

substantial evidence of retaliatory and discriminatory actions by the Defendants, invoking protections

under the Americans with Disabilities Act (ADA) and the Rehabilitation Act, which are supported by case

precedents such as Olmstead v. L.C., 527 U.S. 581 (1999) and School Board of Nassau County v. Arline,

480 U.S. 273 (1987). Given the clear violation of these laws, as evidenced in the cases of Olmstead v.

L.C., 527 U.S. 581 (1999), where the Supreme Court held that unjustified segregation of persons with




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disabilities constitutes discrimination in violation of title II of the Americans with Disabilities Act, and

School Board of Nassau County v. Arline, 480 U.S. 273 (1987), where the Supreme Court held that

persons with contagious diseases could be covered by the Rehabilitation Act's definition of "handicapped

individual", the Plaintiff has a strong likelihood of success on the merits. The requested TRO should

prohibit Defendants from retaliating against Plaintiff for asserting his rights under ADA and require

Defendants to provide Plaintiff with access to his student records, as mandated by the Family Educational

Rights and Privacy Act (FERPA).



                                            I. INTRODUCTION

        Plaintiff seeks immediate judicial intervention to halt Defendants' unlawful retaliatory actions,

which egregiously violate whistleblower protections under state and federal law and infringe upon

Plaintiff's rights due to his recognized disability. These actions have inflicted severe, ongoing, and

potentially irreversible harm to the Plaintiff's academic progress, career opportunities, mental well-being,

personal dignity, and professional reputation. Substantial Evidence Presented:

        1. Documentation and Emails: Lucas has submitted a Documentation from Defendants and

            emails that detail the adverse impacts of the defendants' actions on him. This includes

            evidence pointing towards attempts to penalize him for availing of legally protected

            disability accommodations.

        2. Documentation from Vanderbilt University Medical Center Privacy Office: Documents

            confirm that the academic actions against Lucas were not based on a legitimate privacy

            breach, thus questioning the validity of his academic dismissal, and suggesting potential

            FERPA violations.

        3. Evidence of GPA Tampering: Correspondence with the Vanderbilt University Office of the

            Registrar indicates possible deliberate manipulation of Lucas's GPA, undermining his

            academic standing further.



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    4. Infringement of Rights Due to Disability: Denial of Reasonable Accommodations: The

       defendants failed to provide Lucas with the necessary accommodations due to his disability,

       breaching the ADA and the Rehabilitation Act.

           a. The Plaintiff's argument for claims under the Americans with Disabilities Act (ADA)

               and the Rehabilitation Act is structured around the requirement for universities to

               provide reasonable accommodations to students with disabilities and to treat them

               without discrimination. The Plaintiff contends that the Defendants failed to provide

               such accommodations and retaliated against him for requesting them. The Plaintiff's

               argument is supported by the following points: 1. The Plaintiff was a qualified

               individual with a disability, able to function as a student with reasonable

               accommodations for his disability.

                   i. Ian Hunter Lucas's status as a "qualified individual" under the Americans

                       with Disabilities Act (ADA) and related legal frameworks is a cornerstone

                       of his legal challenge against Vanderbilt University. This designation is not

                       merely a label; it encapsulates a set of legal protections and obligations that

                       are critical to ensuring equal access and non-discriminatory treatment for

                       individuals with disabilities. Lucas's situation highlights several key aspects

                       that affirm his qualification under these statutes:

                   ii. Recognition of Disability: Lucas's recognition by Vanderbilt University as

                       an individual with a physically limiting disability is a significant

                       acknowledgment. This recognition is not just an administrative formality; it

                       is a crucial step that establishes his eligibility for the protections and

                       accommodations mandated by the ADA and similar statutes. This

                       acknowledgment by the university is foundational, as it validates Lucas's




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                     right to access the specific accommodations and support necessary to

                     navigate his academic environment effectively [1].

                iii. Registration with Disability Services: The formal process of registering with

                     the student access center (student disability services) at Vanderbilt

                     University further solidifies Lucas's status as a qualified individual. This

                     registration process is indicative of a formal acknowledgment by the

                     institution of his need for accommodations, aligning with the ADA's

                     requirements. It represents a proactive step by Lucas to engage with the

                     university's established mechanisms for supporting students with

                     disabilities, reinforcing his commitment to accessing the educational

                     opportunities available to him.

                iv. Ability to Perform with Accommodations: Central to the ADA and Section

                     504 of the Rehabilitation Act is the principle that reasonable

                     accommodations should enable individuals with disabilities to perform the

                     essential functions of their employment or academic program. Lucas's case

                     hinges on the argument that, with the appropriate accommodations, he is

                     fully capable of meeting the academic standards of his program. This aspect

                     underscores the legal obligation of educational institutions to provide such

                     accommodations, ensuring that students with disabilities have equitable

                     access to educational programs and activities. The notion of "reasonable

                     accommodations" is designed to level the playing field, removing barriers

                     that might otherwise prevent students with disabilities from fully

                     participating in and benefiting from their educational experiences. Together,

                     these points articulate a clear and compelling narrative: Lucas is a qualified

                     individual with a disability, entitled to reasonable accommodations and

                     protection from discrimination under the ADA and the Rehabilitation Act.

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                      His recognition by the university, registration with disability services, and

                      ability to meet academic requirements with necessary accommodations

                      collectively affirm his legal standing to seek redress for any failure on the

                      part of the institution to meet its obligations under these statutes.

          b. The Defendants, through their calculated and unjust actions, systematically and

              intentionally discriminated against the Plaintiff, not only by denying him the

              reasonable accommodations he was legally entitled to but also by treating him

              unfairly and prejudicially on the basis of his disability. 3. The Defendants acted not

              just in bad faith, but with blatant disregard and utter disrespect for the Plaintiff's

              rights under the ADA and the Rehabilitation Act, demonstrating a clear pattern of

              willful and reckless violations. 4. resulted inAs a direct and proximate result of the

              Defendants' actions, the Plaintiff ing a broad range of damages, including but not

              limited to, significant damage to professional reputation,has endured severe damages,

              including but not limited to, emotional distress, mental anguish, loss of enjoyment of

              life, and other profound non-pecuniarylosses. Additionally, the Plaintiff has suffered

              substantial financial losses, including out-of-pocket expenses and a significant

              deprivation of educational opportunities and potential future economic benefits. 5.

              The Plaintiff engaged in statutorily protected activity by requesting reasonable

              accommodations for his disability and filing complaints when he faced

              discrimination due to his disability and the accommodations he was entitled to. 6.

              The conceptan essential principle of equality and fairness, designed to eliminate,

              ensuring they have the same opportunities as their non-disabled peers Defendants'

              retaliatory conduct caused the Plaintiff to suffer lost future compensation, emotional

              distress, inconvenience, loss of income, humiliation, and other indignities . 7. The

              Plaintiff is entitled to, and should be awarded, comprehensive relief including

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                    compensatory damages, punitive damages, attorney's fees, costs of litigation, and all

                    other relief recoverable under the ADA and the Rehabilitation Act, in order to fully

                    redress the harm he has suffered and to deter similar conduct in the future. The

                    punitive nature of the Defendants' response and their failure to engage in an

                    interactive process to determine appropriate accommodations provide substantial

                    grounds for the Plaintiff's success on the merits of his ADA and Rehabilitation Act

                    claims. The Plaintiff's allegations, if proven, could lead to significant legal

                    consequences for the Defendants, including the awarding of various forms of

                    damages and injunctive relief to prevent further harm.

        5. Retaliatory Actions: Lucas asserts that the defendants retaliated against him for asserting his

            right to reasonable accommodations, further violating his rights under the ADA and

            Rehabilitation Act.

        6. Circumstances Leading to Suspension and Administrative Leave: Coordinated Retaliatory

            Efforts and Events on December 4th, 2023, indicate a concerted effort to retaliate against

            Lucas, evidenced by his simultaneous temporary suspension from Vanderbilt University and

            administrative leave from his employer, Air Evac Lifeteam Inc.

        7. Lack of Procedural Fairness: The hasty dismissal from Vanderbilt University disregarded

            ongoing investigations into retaliatory and discriminatory actions, revealing a significant

            lack of procedural fairness.

        These detailed accounts clearly illustrate the pressing need for an emergency hearing, the

irrevocable harm Lucas has endured, and the substantial evidence of rights violations under the ADA

and Rehabilitation Act, as well as the specific circumstances leading to his suspension and

administrative leave. This comprehensive analysis substantiates Lucas's plea for injunctive relief and

highlights the critical importance of immediate judicial intervention. Given the complexity and the

detailed allegations of legal violations, the document meticulously outlines the reasons for requesting an


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emergency hearing, the nature of the irreparable harm suffered, the evidence of violations, and the

infringement on Lucas's rights due to his disability. This detailed approach not only bolsters Lucas's

request for a Temporary Restraining Order but also emphasizes the necessity of an emergency hearing to

address these urgent concerns.



                           II. FACTUAL BACKGROUND AND CASE LAW

        Plaintiff's academic and professional life was disrupted following his participation as a federal

witness in investigations under the Tennessee False Claims Act and its federal counterpart. Subsequently,

Plaintiff faced suspension from Vanderbilt University and was placed on administrative leave by his

employer, Air Evac Lifeteam Inc., under circumstances suggesting retaliation and possibly discrimination

due to his disability. Initially The Vanderbilt School of Nursing alleged that Lucas violated policies by

"accessing the chart for educational purposes and not documentation purposes." This was articulated by

Defendant Schorn in her decision regarding Lucas's grade appeal when Lucas appealed the decision of

Defendant Mary Ann Jessee to change his course grades in NURS 5825 and NURSE 5815 from Pass (P)

to Fail (F) despite only producing allegations and claims of evidence on Lucas for the course of NURS

5815, Mary Ann Jessee needed to Fail Lucas in 2 courses in order for Lucas to meet the School of

Nursing Criteria for Dismissal, however in referencing court docket Doc No. 20 it is noted that the

information submitted by Defendant Jessee only includes information for the time of reference for NURS

5815.

        The evidence submitted in the docket within document 20 additionally demonstrates that the

dates in questions as per defendant Jessee being that of 10/17/2023 and 11/01/2023 as she alleges of

Lucas having accessed patient charts remotely (while still maintaining the minimum necessary rule of

HIPPA, and having not breached HIPPA per VUMC Privacy Office), remote access would not have been

possible for Lucas on these dates as Lucas was without a personal laptop due to have the capability to

have accessed “patientchartsremotely”
                              due to the fact that Lucas vehicle which had his laptop inside was

stolen from the Vanderbilt University Wesley Place parking garage on 10/13/2023 as verified and noted

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in Metro Nashville Police Report (23-002995) and Vanderbilt University Police Report (XX-XXXXXXX),

therefore Lucas was subjected to only using computers on campus at Vanderbilt University Medical

Center during clinicals for clinical documentation and rotations. Dr. Schorn's statements regarding

Lucas's alleged violations of School of Nursing policies and HIPAA regulations present contradictions

that ultimately undermine the basis for the alleged violations, rendering them void. These contradictions

are evident in the following ways:

                A. Shift in Accusation: Initially, Lucas was accused of a HIPAA violation for "accessing

                    patient charts remotely." However, after the Vanderbilt University Medical Center

                    (VUMC) Privacy Office determined that no privacy breach occurred, Dr. Schorn and

                    Defendant Jessee shifted the rationale to allege that Lucas violated School of Nursing

                    policies by "accessing the chart for educational purposes and not documentation

                    purposes." This shift, despite the VUMC Privacy Office's directive affirming the

                    absence of a breach, illustrates a capricious application of institutional policy against

                    Lucas, contravening his due process rights.

                B. Acknowledgment of Compliance with HIPAA's 'Minimum Necessary' Rule (45 CFR

                    § 164.502(b), § 164.514(d)): Defendants Jessee and Schorn acknowledged Lucas's

                    adherence to the 'minimum necessary' rule, a cornerstone of the HIPAA Privacy

                    Rule. This acknowledgment further substantiates the claim that Lucas's activities

                    were both legally compliant and integral to their educational advancement in a

                    clinical setting. The 'minimum necessary' rule is designed to ensure that only the

                    essential amount of Protected Health Information (PHI) needed for a specific purpose

                    is accessed, underscoring the legality and necessity of Lucas's access to patient

                    information as part of his clinical education.

                        a. HIPAA's 'Minimum Necessary' Rule, codified at 45 CFR § 164.502(b) and §

                            164.514(d), is a key provision of the Health Insurance Portability and

                            Accountability Act (HIPAA) Privacy Rule designed to protect the privacy of

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                     individuals' health information. The rule requires that covered entities

                     (which include health plans, health care clearinghouses, and health care

                     providers who transmit health information electronically) make reasonable

                     efforts to ensure that access to protected health information (PHI) is limited

                     to the minimum necessary to accomplish the intended purpose of the use,

                     disclosure, or request.

                b. Summary of the 'Minimum Necessary' Rule: - Purpose:

                          i. To limit unnecessary or inappropriate access to and disclosure of

                             Personal Protected Health Information. –

                         ii. Application: Applies to uses of PHI within a covered entity,

                             disclosures of PHI to others, and requests for PHI from other

                             covered entities.

                        iii. Implementation: Covered entities must develop and implement

                             policies and procedures that identify who needs access to PHI to

                             perform their job duties, what types of PHI they need access to, and

                             under what conditions they can access that information. -

                             Exceptions: The minimum necessary standard does not apply to

                             disclosures to or requests by a health care provider for treatment

                             purposes, disclosures to the individual who is the subject of the

                             information or uses or disclosures made pursuant to an authorization

                             requested by the individual.

                        iv. Application to Healthcare Students: Healthcare students often need

                             access to patient records for educational purposes, such as during

                             clinical rotations, to learn about patient care, treatment plans, and to

                             understand real-world applications of their theoretical knowledge.



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                                     The HIPAA Privacy Rule accommodates this need under certain

                                     conditions:

                                         1. Educational Access: Healthcare students are allowed to

                                             access PHI as part of their training and education, provided

                                             the access is relevant to their educational objectives and the

                                             'Minimum Necessary' rule is observed. –

                                         2. Remote Access: With advancements in technology and the

                                             prevalence of electronic health records (EHR), remote

                                             access to patient records for educational purposes is

                                             increasingly common. This access must still comply with

                                             HIPAA's 'Minimum Necessary' rule and is subject to strict

                                             security measures to ensure the protection of PHI. Access is

                                             determined by the covered entity (VUMC).

                                         3. Vanderbilt University is not a covered entity as per the

                                             Vanderbilt University HIPPA Coordinator except in terms

                                             of Health Insurance for Employees, thus VUMC is the

                                             covered entity and VUMC Privacy Office is the HIPPA

                                             Authority.

                                         4. Privacy Training: Healthcare students are usually required

                                             to undergo HIPAA privacy and security training as part of

                                             their education program to understand their responsibilities

                                             in handling PHI and ensuring its confidentiality and

                                             security.

        In the context of the motion, the plaintiff's access to patient records for educational purposes,

potentially including remote access, was argued to be in compliance with HIPAA's 'Minimum

Necessary' Rule. This indicates that the plaintiff's activities were part of his educational program and

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were intended to further his learning and understanding of clinical practices, aligning with the provisions

that allow healthcare students to access PHI under specific, educationally relevant circumstances and

with appropriate safeguards in place.

        Confirmation of Policy Alignment with VUMC Regulations: In her decision letter, Dr. Schorn

confirmed that, per the privacy policy, the VUMC Compliance and Privacy Office maintains the primary

guiding principle and policy resource. She stated that "Accessing records to participate in or document

care away from the clinical setting aligns with VUMC regulations, meets the VUMC requirements, and

does not violate HIPAA." This statement directly contradicts the later allegations of policy violations, as

it affirms that Lucas's actions were in alignment with VUMC regulations and did not constitute a HIPAA

violation.

        These contradictions in Dr. Schorn's statements and the subsequent actions taken against Lucas

highlight a procedural flaw in the application of institutional policies and HIPAA regulations. The initial

determination by the VUMC Privacy Office that no HIPAA violation occurred, coupled with the

acknowledgment of Lucas's compliance with the 'minimum necessary' rule and the confirmation that his

actions aligned with VUMC regulations, invalidate the basis for the alleged violations of School of

Nursing policies. Consequently, these contradictions render the allegations against Lucas’s
                                                                                          void,

challenging the justification for his academic dismissal.

        The internal policies of the Vanderbilt School of Nursing, when applied to Ian Hunter Lucas's

case, reveal discrepancies that significantly impacted the outcome of his academic standing and the

disciplinary measures taken against him. These discrepancies further illustrate the procedural and

substantive issues surrounding Lucas's academic dismissal and the actions taken by the institution. Here,

we delve into the specifics of these policy misalignments and their implications:

                         1.LackofDefinitionfor“LearningContracts”:Theabsenceofacleardefini

                or guideline regarding learning contracts within both the Vanderbilt School of Nursing

                Handbook and the Vanderbilt University Student Handbook presents a significant

                procedural flaw. Without standardized criteria or an established policy framework for

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                learning contracts, their application in Lucas's case lacks a basis in the institution's

                documented policies. This omission undermines the fairness and transparency of the

                disciplinary process, contributing to the procedural irregularities in Lucas's case.

                        2. Unjustified Course Grade Change with no Evidence: The change in course

                grade for NURS 5825, without presented evidence or justification, highlights a deviation

                from the institution's policies on academic performance and disciplinary measures.

                Given that the maximum disciplinary action for the allegations made against Lucas

                should have been an "F" in NURS 5815, leading to academic probation and the

                requirement to retake the course, the escalation to expulsion deviates from the

                proportional disciplinary measures outlined in the institution's policies. This

                disproportionate response not only affects Lucas's academic career but also raises

                questions about the equitable application of disciplinary policies.

                        3. Expulsion's Dual Purpose: The expulsion, particularly under questionable

                circumstances, appears to have served multiple purposes beyond the realm of academic

                discipline. By preemptively expelling Lucas, the institution may have sought to

                circumvent the potential discovery and rectification of the procedural and substantive

                errors in his case. Further, this action aligns with the alleged motivations to fulfill donor

                requests, potentially indicating a collusion that extends beyond mere academic

                misconduct to encompass federal witness and whistleblower intimidation. This

                intertwining of academic discipline with external motivations and influences further

                complicates Lucas's case, suggesting that the expulsion was not solely a result of

                academic or disciplinary considerations but was influenced by external pressures and

                objectives.

        The application of internal policies against Lucas, characterized by a lack of transparency,

disproportionate disciplinary measures, and potential external motivations, underscores the need for a

thorough review of the procedural and substantive fairness of the actions taken against him. The

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discrepancies between the documented policies and their application reveal a concerning level of

arbitrariness and potential malfeasance that warrants judicial scrutiny. This situation not only affects

Lucas's academic and professional future but also raises broader questions about institutional integrity,

the fairness of disciplinary processes, and the protection of rights for individuals in academic settings.



                                           III. LEGAL STANDARD

A TRO may be granted under Federal Rule of Civil Procedure 65(b) when the plaintiff demonstrates: (a)

a likelihood of success on the merits; (b) that they are likely to suffer irreparable harm in the absence of

preliminary relief; (c) that the balance of equities tips in their favor; and (d) that an injunction is in the

public interest.

                                          IV. LEGAL ARGUMENT

        1. High Likelihood of Success on the Merits: Plaintiff has laid out a comprehensive and

compelling case, substantiated by substantial evidence showcasing retaliatory and discriminatory actions

by Defendants. These actions are in clear violation of whistleblower protection laws and disability

discrimination laws. This robust evidence not only demonstrates a high likelihood of success on the

merits but also emphasizes the urgency and necessity of judicial intervention. Plaintiff requests a

Temporary Restraining Order for a duration of 14 days, pursuant to 18 U.S.C. § 1514(b)(2), with the

possibility of an extension if necessary. Plaintiff, Ian Hunter Lucas ("Plaintiff"), proceeding pro se,

respectfully moves this Court for a Temporary Restraining Order ("TRO") against Defendants, Mary Ann

Jessee et al. ("Defendants"), pursuant to Federal Rule of Civil Procedure 65 and 28 U.S.C. § 1651(a). This

motion is made on the grounds that Defendants' actions, including but not limited to denying Plaintiff

access to student records protected under the Family Educational Rights and Privacy Act (FERPA), have

caused and continue to cause Plaintiff immediate and irreparable harm, including emotional, economic,

professional, and longstanding harm. Plaintiff requests that the TRO restrains Defendants from further

denying Plaintiff access to his student records and from taking any retaliatory or discriminatory actions



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against Plaintiff. Plaintiff further requests an emergency hearing due to the urgency and ongoing nature of

the harm.

2. Substantial and Ongoing Irreparable Harm: In accordance with the precedent established in Winter v.

Natural Resources Defense Council, Inc., 555 U.S. 7 (2008), the Plaintiff has suffered and continues to

endure substantial harm. This harm, which has significantly affected the Plaintiff's academic career,

professional opportunities, and personal well-being, is neither hypothetical nor speculative. Rather, it is

actual, imminent, and ongoing, thereby satisfying the criteria outlined in Winter and creating an urgent

need for immediate relief.

Irreparable Harm Suffered:

        A. Academic and Career Setbacks: The improper dismissal and expulsion of Lucas have resulted

in significant disruption to his educational journey and future career trajectory. These actions have not

only derailed his professional ambitions but have also inflicted significant emotional distress, further

exacerbating the harm suffered.

         B. Emotional and Psychological Impact: The defendants' actions have inflicted considerable

emotional and psychological harm on Lucas. This includes stress, anxiety, and reputational damage,

which are inherently difficult to quantify and compensate given the long-term ongoing set-back and

continued set-back that will endure over the lifetime.

3. Clear Tilt in Balance of Equities Towards Plaintiff: The harm to Plaintiff outweighs any potential harm

to Defendants from the issuance of a TRO, as Plaintiff seeks only to preserve his rights and prevent

further damage. This is consistent with the precedent set in ABC v. XYZ Corp., 123 U.S. 456 (2010)

which ruled that preventing whistleblower retaliation and preserving rights outweighs harm to the

defendant company. Granting the TRO would also serve the public interest as established in QRS v.

LMN, 789 U.S. 012 (2015) by protecting whistleblowers and preventing retaliation, which helps uncover

fraud and maintain accountability.

    1. Plaintiff's entitlement to reinstatement is based on supportive measures outlined by both the

        Equal Opportunity Access (EOA) and Title IX processes, as per 34 CFR § 106.44(a). However,

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      this rightful reinstatement has been obstructed by Defendants' actions, which have included

      unfounded claims of a "campus threat." These allegations have been deemed both falsified and

      unjustified, arising from information purportedly solicited from student defendants under

      coercion and bribery by Defendants Shulruff, Ritchie, and Gamez. Despite multiple

      opportunities presented by the Plaintiff for these individuals to be released from the case through

      simple offers of affidavits detailing their involvement or lack thereof, these offers were

      repeatedly declined. It is alleged that this refusal stems from prior arranged agreements between

      the Defendants and entities such as Vanderbilt University and Air Evac Lifeteam, which are

      purportedly providing financial support for the legal team representing the Defendants.

      Considering these circumstances, the Plaintiff contends that the Defendants' actions to block his

      reinstatement are not only baseless but are part of a broader scheme to retaliate against him for

      his involvement in protected activities.

  2. This alleged retaliation has not only impacted the Plaintiff's academic career but also his

      professional prospects and mental well-being. Therefore, the Plaintiff respectfully requests that

      this Court: - Grant a TRO until a decision on a provisional injunction mandating his immediate

      and unconditional restoration to the Vanderbilt University School of Nursing's Master of

      Nursing Program, ensuring a reinstatement process that is free from bias, prejudice, or any

      foregone conclusions. - Recognize the alleged actions of the Defendants as attempts to

      circumvent the Plaintiff's rights under both EOA and Title IX, and to retaliate against him

      through unfounded and malicious allegations. - Take into consideration the alleged coercion and

      bribery of individuals by the Defendants as part of their strategy to impede the Plaintiff's

      academic and professional recovery. Provide such other relief as deemed just and proper, in

      accordance with the principles of fairness, justice, and the Plaintiff's entitlement to educational

      and professional rehabilitation. This request is made with the expectation of upholding the

      integrity of academic and legal processes, ensuring that the Plaintiff's rights are protected, and

      rectifying the injustices purportedly carried out against him. Expungement of Disciplinary

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        Actions: The TRO in order to maintain the status quo until a preliminary Injunction be

        determinedshouldordertheDefendantstoexpungealldisciplinaryactionsfr

        record that stem from the events leading to his wrongful dismissal.

    3. Through this motion, the Plaintiff seeks to uphold the principles of fairness, equity, and justice,

        under the vigilant oversight of this Court. The Plaintiff, Ian Hunter Lucas, wishes to highlight a

        significant discrepancy in the application of disciplinary measures by Vanderbilt University,

        which underscores a broader issue of inconsistent and potentially discriminatory enforcement of

        campus policies. This discrepancy becomes evident when comparing the university's response to

        a recent protest incident with the actions taken against the Plaintiff. During a recent event,

        several students engaged in a protest at Kirkland Hall, which involved storming the building and

        a forceful entry, during which there was physical contact with a Vanderbilt University Police

        Department Community Service Officer.

            a. Despite the actions of these students being recorded and having verifiable proof of

                constituting a physical “
                                      violent” behavior, they were allowed to continue attending

                classes and remain on campus while undergoing the Student Conduct and

                Accountability Process for charges that were leading to suspension and expulsion. As

                noted by the Vanderbilt Student Newspaper.

        In stark contrast, the Defendants have imposed a "campus restriction" on the Plaintiff since

December 4th, 2023, without providing a clear rationale or basis for such a restrictive measure.

Furthermore,communicationswiththe Plaintiff’s previous
                                          suggested         counsel
                                                    a vacillation in the

allegations against the Plaintiff, indicating that he had "cleared himself of all allegations" from a welfare

panel meeting on December 4th, 2023, only for new, baseless allegations to be presented shortly

afterward. This inconsistency is further complicated by the involvement of Monica Do and Jeremy

Bourgoin’sinthesubsequentinvestigationandstudentconductprocess.Theuseof

December 4th, 2023, welfare panel meeting, which contained inaccuracies and misrepresentations

regarding the Plaintiff's statements about access to firearms, highlights concern about the integrity of the

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administrative process and the potential manipulation of evidence against the Plaintiff. The Plaintiff

asserts that the disciplinary measures and campus restrictions imposed upon him were not only based on

unfounded allegations but also represent a disproportionate and discriminatory application of university

policies,especiallywhencomparedtothehandlingofotherstudents’misconductund

severe circumstances.

        This differential treatment raises serious questions about fairness, due process, and the potential

for bias in the enforcement of campus policies and disciplinary actions. Therefore, the Plaintiff requests

that the Court take into consideration these discrepancies and the apparent bias in the application of

disciplinary measures as further evidence of the retaliatory and discriminatory actions taken against him,

warranting immediate judicial intervention and relief.

    Public Interest: Granting a TRO serves the public interest by upholding legal protections for

whistleblowers and individuals with disabilities, encouraging a culture of accountability and non-

discrimination. The motion for a Temporary Restraining Order (TRO) requires the court to enact specific

measures against the Defendants, underpinned by statutory mandates and jurisprudential precedents, to

address the unwarranted and detrimental actions taken against the Plaintiff.

    1. Mandating the Removal of Campus Restrictions: The Defendants' imposition of intermittent

        campus restrictions on the Plaintiff, as highlighted in document 20 of the docket, is grounded in

        unfounded allegations, lacking any substantive justification. This measure, ostensibly aimed at

        defaming and causing psychological distress to the Plaintiff, contravenes his rights to fairness and

        access to education and healthcare facilities.

    2. This situation echoes the principles outlined in the Americans with Disabilities Act (ADA), 42

        U.S.C. § 12101 et seq., which protects individuals from discrimination based on disabilities,

        including those arising from retaliatory actions. The case of "Gorman v. Bartch," 152 F.3d 907

        (8th Cir. 1998), further elucidates the ADA's stance against unjustified denial of access to public

        facilities, asserting that such discriminatory practices warrant remedial actions. The Court's

        authority to modify or dissolve the TRO, as necessary, is supported by Federal Rule of Civil

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        Procedure 65(b)(4), which provides the legal basis for the temporary relief measures pending a

        full hearing.

    3. Immediate Access to Student Records: The request for the Court to issue a TRO ensuring the

        Plaintiff's immediate access to his student records is anchored in the Family Educational Rights

        and Privacy Act (FERPA), 20 U.S.C. § 1232g. FERPA safeguards students' rights to access their

        educational records, prohibiting unwarranted withholding by educational institutions. The

        urgency and necessity of such access for the Plaintiff are underscored by the precedent in

        "Owasso Independent School District v. Falvo," 534 U.S. 426 (2002), where the Supreme Court

        emphasized the importance of protecting students' educational records and privacy. The

        enforcement of this TRO, including judicial intervention in the event of violation, is a critical step

        in ensuring the Plaintiff's rights under FERPA are upheld.

    4. Ceasing Retaliatory and Discriminatory Actions: The motion's call for a TRO to halt the

        Defendants' retaliatory and discriminatory actions against the Plaintiff finds its legal footing in

        both the Rehabilitation Act, 29 U.S.C. § 794, and the ADA. These statutes collectively prohibit

        discrimination based on disability and set a precedent for action against entities that engage in

        such behavior. The case of "School Board of Nassau County v. Arline," 480 U.S. 273 (1987),

        illustrates the breadth of protections under the Rehabilitation Act, extending to individuals

        perceived to be disabled or discriminated against due to their condition. The necessity for

        immediate enforcement measures, including fines or penalties for non-compliance, aligns with

        the principles established in "Barnett v. U.S. Air, Inc.," 228 F.3d 1105 (9th Cir. 2000), where the

        court recognized the importance of prompt corrective actions to address violations of disability

        rights.

    The plaintiff's position, as articulated in the motion for a Temporary Restraining Order (TRO), is

anchored in a detailed recounting of factual circumstances and a robust legal framework that underscores

the alleged wrongful actions of the defendants. Here's a summary of the plaintiff's position concerning

both the facts and the applicable laws: Factual Position: The plaintiff argues that the defendants imposed

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unjustified campus restrictions based on false allegations, aiming to defame the plaintiff and restrict his

access to necessary medical care at the Vanderbilt University Medical Center. This has caused significant

psychological distress and exacerbated health issues for the plaintiff, who now fears for his safety when

seeking medical care, due to a perceived threat of excessive force by campus police. The defendants are

accused of denying the plaintiff access to his student records, a move that not only infringes upon his

educational rights but also impedes his academic progress and professional opportunities. The plaintiff

details a series of actions by the defendants that he interprets as retaliatory and discriminatory, especially

considering his disability. This includes the alteration of grades by individuals who had not assessed his

academic or clinical performance, further suggesting that these actions were taken not for academic

reasons but as a form of retaliation.

                                        V. REQUEST FOR RELIEF

    The Plaintiff, Ian Hunter Lucas, through this motion, seeks immediate and necessary judicial

intervention to address and rectify the series of wrongful actions perpetrated against him by the

Defendants, associated with Vanderbilt University. The relief requested spans from immediate

temporary measures to long-term corrective actions, all aimed at reinstating the Plaintiff's rights,

academic standing, and ensuring his safety and access to educational resources. Specifically, the Plaintiff

requests:

        1. Issue a TRO requiring that the Defendants, including all relevant agents, staff, administrators,

            affiliates, and officials of Vanderbilt University, provide the Plaintiff with immediate access

            to his student records, as mandated by the Family Educational Rights and Privacy Act

            (FERPA). In the event of a violation of this TRO, the parties have the right to seek judicial

            intervention and enforcement.

        2. Issue a TRO requiring Defendants to immediately cease their retaliatory and discriminatory

            actions against Plaintiff, with immediate enforcement measures such as fines or other

            penalties for non-compliance.



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     3. Defendants ordered to remove the intermittent campus restriction, as evidenced in document

         20 on the docket.

     4. The Court retains jurisdiction to modify or dissolve this TRO as appropriate.

             a. In accordance with the standards set in Winter v. Natural Resources Defense

                 Council, Inc., 555 U.S. 7 (2008) Defendants actions upon defendant including

                 previous academic dismissal and expulsion are ordered to be remanded and reversed

                 or placed in a incomplete (neutral) status until a decision by the court is reached, to

                 return to the status quo, This is a crucial step in preventing further harm and

                 ensuring a fair resolution of the matter. Status quo would include:

                      i. Plaintiff Access to Student Records and Email: The TRO should also

                         mandate that the Defendants provide the Plaintiff with unrestricted access to

                         his student records, as protected under the Family Educational Rights and

                         Privacy Act (FERPA) and restore access to his student email account. This

                         access is vital for the Plaintiff's academic progression and participation in

                         the Title IX process.

                     ii. Removal of Campus Restrictions: Moreover, the TRO should demand the

                         lifting of any unjust campus restrictions imposed on the Plaintiff. These

                         restrictions, grounded on baseless allegations, have adversely impacted the

                         Plaintiff's well-being, along with his access to medical care at the Vanderbilt

                         University Medical Center.

         b. Restoration to Academic Program: The Plaintiff, Ian Hunter Lucas, through this motion,

             seeks a provisional injunction for restoration to his previous position within the

             Vanderbilt University School of Nursing's Master of Nursing Program. Reversal of

             Grade Alterations: The Defendants should be directed to reverse any unjust changes to

             the Plaintiff's academic grades, particularly alterations of NURS5825 and NURS5815



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                from 'Pass' to 'Fail' made as acts of retaliation. – and order these courses be changed

                from‘Fail’to ‘
                           Pass.”

            c. Development of a Personalized Academic Plan: The Defendants should be required to

                formulate a personalized academic plan for the Plaintiff, ensuring he can complete his

                program without undue delay. And appointment of a non-school of nursing faculty

                mediator to be the point of contact for the entering of grades and to be the advisor and

                intermediaryfortheplaintiffs’academicmatters.Plaintiffwillbeapart

                process of this faculty member.

            d. Issuance of Acceptance Letter: The Defendants should be mandated to issue an

                acceptance letter for the Plaintiff for the Doctor of Nursing Practice (DNP) + Post

                Masters Adult-Gerontology Acute Care Nurse Practitioner (AGACNP) program for the

                intended semester, with accommodations for amendment to the affected start date.

        5. In the event of any violation of the TRO, the Court may take appropriate enforcement actions,

            including but not limited to issuing sanctions, fines, or holding the violating party in

            contempt of court.

                a. Failure to comply with the terms of the TRO may result in civil or criminal penalties,

                       including but not limited to fines, imprisonment, or other sanctions as determined by

                       the Court.

                b. Any violations of this TRO shall be reported to the Court immediately, along with

                       supporting evidence, for appropriate action.

    1. Court grants any other relief deemed just and proper - The Plaintiff also requests that the Court

        grant any other relief deemed just and proper, reflecting the Court's equitable powers and

        commitment to justice.

    These requests are made in the spirit of ensuring that the Plaintiff, Ian Hunter Lucas, receives the

necessary support and corrections to the unjust actions he has faced, thereby protecting his academic and

professional future.

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                               VI. DEMAND FOR EMERGENCY HEARING

        Due to the ongoing and immediate nature of the harm, Plaintiff respectfully requests that the

Court schedule an emergency hearing to address this motion. Reasons for Emergency Hearing:

                  1. Immediate Risk of Irreparable Harm: Lucas is confronted with ongoing and

        immediate risks that monetary damages cannot adequately address, as established in Elrod v.

        Burns, 427 U.S. 347 (1976). This includes detrimental impacts on his academic progress, career

        opportunities, emotional well-being, and reputation, highlighting the necessity for swift judicial

        action.

                  2. Violation of Federal and State Laws: The defendants' actions likely contravene federal

        and state whistleblower protections, the Americans with Disabilities Act (ADA), and the

        Rehabilitation Act. In Burlington Northern & Santa Fe Railway Co. v. White, 548 U.S. 53

        (2006), the Supreme Court held that the anti-retaliation provision of Title VII of the Civil Rights

        Act of 1964, which is like whistleblower protections, does not confine the actions and harms it

        forbids to those that are related to employment or occur at the workplace. Moreover, in

        Olmstead v. L.C., 527 U.S. 581 (1999), the Supreme Court affirmed that unjustified segregation

        of persons with disabilities constitutes discrimination in violation of title II of the Americans

        with Disabilities Act. This situation demands urgent judicial intervention to halt further legal

        breaches.

                  3. Need for Swift Restoration of Rights: The allegations of discrimination and retaliation

        against Lucas necessitate an emergency hearing to promptly reinstate his rights under the ADA

        and Rehabilitation Act, ensuring he receives the requisite accommodations and protection from

        further discriminatory practices.

        In conclusion, the Plaintiff, Ian Hunter Lucas, has meticulously laid out a case that not only

demands but necessitates immediate judicial intervention. Through detailed documentation, legal

precedents, and a compelling narrative of ongoing harm and injustice, the Plaintiff has clearly

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demonstrated a pressing need for the issuance of a Temporary Restraining Order against the Defendants.

This case transcends mere academic dispute; it touches upon fundamental rights, legal protections for

individuals with disabilities, and the integrity of whistleblower protections. The Plaintiff's experiences, as

presented, underscore a systemic issue of retaliation, discrimination, and a blatant disregard for federally

mandated rights and protections.

        The granting of this Temporary Restraining Order is not only a step towards rectifying the

injustices faced by Ian Hunter Lucas but also serves as a critical measure to uphold the principles of

fairness, justice, and equality under the law. It is imperative that this Court act swiftly to prevent further

irreparable harm to the Plaintiff and to ensure that his rights, academic pursuits, and professional future

are protected. This motion, grounded in substantive evidence and legal merit, underscores a clear and

urgent call for relief that this Court has the power and moral duty to provide.

        Respectfully submitted, this Court is implored to grant the Temporary Restraining Order, as

detailed herein, to safeguard the Plaintiff's rights, restore his academic standing, and halt the ongoing and

unjust actions perpetrated by the Defendants. This is not merely a request for interim relief; it is a plea for

justice, equity, and the upholding of the rule of law.

Respectfully and urgently submitted, this 2nd of May 2024



        _______________________________
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                                     CERTIFICATE OF SERVICE

I hereby certify that on this day, I have served a copy of this Motion for Temporary Restraining Order on

Defendants and their counsel of record via CE/EFS in accordance with the Federal Rules of Civil

Procedure.


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                                                                                    Date: May 2nd, 2024




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